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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

ERIC LASSAIR, ET AL                           *       CIVIL ACTION NO. 19-11377

                                                 SECTION “H” (1)
VERSUS
                                                     JUDGE JANE TRICHE MILAZZO
CITY OF NEW ORLEANS, ET AL
                                              *       MAGISTRATE VAN MEERVELD

*      *       *         *     *      *       *

                             REQUEST FOR ORAL ARGUMENT

       Defendant, the City of New Orleans, hereby respectfully requests, pursuant to Local Rule

78.1E, permission for oral argument upon its Motion to Dismiss Pursuant to Rule 12(b)(6) which

has been noticed for submission on August 28, 2019. Oral argument will provide an opportunity to

discuss the applicability of and preemption of state law claims by the Price-Anderson Act, as well as

afford the parties a chance to answer any questions that the Court may have regarding the specific

pleading deficiencies.

                                      Respectfully submitted,

                                      Michael J. Laughlin
                                      _________________________________________
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                                      ASSISTANT CITY ATTORNEY
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                                      DEPUTY CITY ATTORNEY
                                      CHURITA H. HANSELL, LSB# 25694
                                      CHIEF DEPUTY CITY ATTORNEY
                                      DONESIA D. TURNER, LSB# 23338
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on August 1, 2019, I electronically filed the above and foregoing

pleading with the Clerk of Court using the CM/ECF system which will send a notice of

electronic filing to counsel for all parties.

                                     Michael J. Laughlin
                             __________________________________
                                   MICHAEL J. LAUGHLIN




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